                                         Case 4:20-cv-05146-YGR Document 789 Filed 07/28/22 Page 1 of 2




                                   1

                                   2

                                   3

                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7    PATRICK CALHOUN, et al.,                          Case No. 20-cv-05146-YGR (SVK)
                                   8                  Plaintiffs,
                                                                                          ORDER FOLLOWING JULY 28, 2022
                                   9            v.                                        STATUS CONFERENCE
                                  10    GOOGLE LLC,
                                  11                  Defendant.

                                  12          The Court held a status conference to address preparation for the hearing on August 11,
Northern District of California
 United States District Court




                                  13   2022 and Google’s Administrative Motion re the Preservation Plan (Dkt. 787), and set the
                                  14   following deadlines:
                                  15
                                       DEADLINES ASSOCIATED WITH 8/11/22 HEARING ON PLAINTIFFS’ MOTION FOR
                                  16   SANCTIONS:
                                  17
                                          •   PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW: Deadline extended
                                  18          to 7/29/22. May be provisionally filed under seal, to be followed by an appropriate motion
                                              to seal including redacted versions by 8/8/22. Chambers copies (2 binders) must be
                                  19          delivered by noon on Monday, August 1.
                                  20
                                          •   WITNESSES: The 8/11/22 hearing is not expected to include witness testimony. Parties
                                  21          to notify the Court immediately if their position on witnesses changes following the filing
                                              of Proposed Findings of Fact and Conclusions of Law.
                                  22
                                          •   EXHIBITS: Any new exhibits to be exchanged by the Parties and provided to the Court
                                  23          and Special Master on 8/4/22 at 5:00 p.m. For any new exhibit of more than 10 pages,
                                  24          chambers copies (2 copies) must be delivered to Court by the same deadline.

                                  25      •   DEMONSTRATIVES: Demonstratives and slide decks to be exchanged by the Parties
                                              and provided to the Court and Special Master on 8/9/22 at noon. Chambers copies (2 color
                                  26          copies) must be delivered to the Court by the same deadline.
                                  27
                                          •   SEALING: Parties to meet and confer about whether and to what extent it is necessary to
                                  28          seal the hearing. Joint proposal or status report due 8/4/22.
                                         Case 4:20-cv-05146-YGR Document 789 Filed 07/28/22 Page 2 of 2




                                       DEADLINES ASSOCIATED WITH GOOGLE’S ADMINISTRATIVE MOTION RE
                                   1   PRESERVATION PLAN (Dkt. 787):
                                   2
                                          •   By noon on 7/29/22, Google must provide an anticipated date of completion for all items
                                   3          identified in its administrative motion as “in progress” or for which it has requested
                                              additional time. For the reasons discussed at the hearing, the Court will not grant open-
                                   4          ended extensions or any extension in excess of 30 days, and may not grant any extension
                                              for some requests.
                                   5

                                   6      •   Plaintiffs’ response to administrative motion due 8/1/22.

                                   7      •   Google to inform Brown plaintiffs today of these deadlines, which apply in that action as
                                              well.
                                   8
                                              SO ORDERED.
                                   9
                                       Dated: July 28, 2022
                                  10

                                  11

                                  12
Northern District of California




                                                                                                   SUSAN VAN KEULEN
 United States District Court




                                  13                                                               United States Magistrate Judge

                                  14

                                  15

                                  16

                                  17

                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                                                                       2
